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                                                 BENDAU & BENDAU PLLC
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                                             2   P.O. Box 97066
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                                                        chris@bendaulaw.com
                                             5   Attorneys for Plaintiff
                                             6
                                                                            UNITED STATES DISTRICT COURT
                                             7
                                                                                   DISTRICT OF ARIZONA
                                             8
                                             9    Jerry Clemons,
                                                                                                 No.
                                            10                            Plaintiff,
                                            11    vs.                                            VERIFIED COMPLAINT
 BENDAU & BENDAU PLLC




                                            12
                                                  L & R Meats, Limited d/b/a
                        Phoenix, AZ 85060




                                            13    Midwestern Meats, an Arizona
                         P.O. Box 97066




                                                  Corporation; Roger E. McConnell and
                                            14    Sally McConnell, a married couple; and
                                                  Rodney McConnell and Erlinda
                                            15    McConnell, a married couple,
                                            16                            Defendants.
                                            17
                                            18
                                                           Plaintiff, Jerry Clemons (“Plaintiff”), sues the Defendants L & R Meats, Limited
                                            19
                                                 d/b/a Midwestern Meats; Roger E. McConnell and Sally McConnell; and Rodney
                                            20
                                            21   McConnell and Erlinda McConnell, (“Defendants”) and alleges as follows:
                                            22                                 PRELIMINARY STATEMENT
                                            23
                                                           1.    This is an action for unpaid overtime wages, liquidated damages, attorneys’
                                            24
                                                 fees, costs, and interest under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201,
                                            25
                                            26   et seq.
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                                                        2.     The FLSA was enacted “to protect all covered workers from substandard
                                             1
                                             2   wages and oppressive working hours.” Barrentine v. Ark Best Freight Sys. Inc., 450 U.S.
                                             3   728, 739 (1981). Under the FLSA, employers must pay all non-exempt employees a
                                             4
                                                 minimum wage of pay for all time spent working during their regular 40-hour
                                             5
                                                 workweeks. See 29 U.S.C. § 206(a). Under the FLSA, employers must pay all non-
                                             6
                                             7   exempt employees one and one-half their regular rate of pay for all hours worked in
                                             8   excess of 40 hours in a workweek. See 29 U.S.C § 207.
                                             9
                                                        3.     Plaintiff brings this action against Defendants for their unlawful failure to
                                            10
                                                 pay overtime in violation of the Fair Labor Standards Act, 29 U.S.C. § 201-219
                                            11
 BENDAU & BENDAU PLLC




                                            12   (“FLSA”).
                        Phoenix, AZ 85060




                                            13          4.     This is an action for unpaid wages, liquidated damages, interest, attorneys’
                         P.O. Box 97066




                                            14
                                                 fees, and costs under the FLSA.
                                            15
                                                                               JURISDICTION AND VENUE
                                            16
                                            17          5.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and

                                            18   29 U.S.C. § 201, et seq. because this civil action arises under the Constitution and law of
                                            19
                                                 the United States.
                                            20
                                                        6.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(ii) because
                                            21
                                            22   acts giving rise to the claims of Plaintiff occurred within the District of Arizona, and

                                            23   Defendants regularly conduct business in and have engaged in the wrongful conduct
                                            24
                                                 alleged herein – and, thus, are subject to personal jurisdiction in – this judicial district.
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                                                                                         PARTIES
                                             1
                                             2          7.     At all times material to the matters alleged in this Complaint, Plaintiff was
                                             3   an individual residing in Maricopa County, Arizona, and is a former employee of
                                             4
                                                 Defendants.
                                             5
                                                        8.     At all material times, L & R Meats, Limited d/b/a Midwestern Meats was a
                                             6
                                             7   corporation duly licensed to transact business in the State of Arizona. At all material
                                             8   times, Defendant L & R Meats, Limited d/b/a Midwestern Meats does business, has
                                             9
                                                 offices, and/or maintains agents for the transaction of its customary business in Maricopa
                                            10
                                                 County, Arizona.
                                            11
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                                            12          9.     At all relevant times, L & R Meats, Limited d/b/a Midwestern Meats owned
                        Phoenix, AZ 85060




                                            13   and operated as “Midwestern Meats,” a wholesale and retail butcher that also operates a
                         P.O. Box 97066




                                            14
                                                 restaurant and baker, located at 4308 E. Main St., Mesa, AZ 85205.
                                            15
                                                        10.    Under the FLSA, Defendant L & R Meats, Limited d/b/a Midwestern
                                            16
                                            17   Meats is an employer. The FLSA defines “employer” as any person who acts directly or

                                            18   indirectly in the interest of an employer in relation to an employee. At all relevant times,
                                            19
                                                 Defendant L & R Meats, Limited d/b/a Midwestern Meats had the authority to hire and
                                            20
                                                 fire employees, supervised and controlled work schedules or the conditions of
                                            21
                                            22   employment, determined the rate and method of payment, and maintained employment

                                            23   records in connection with Plaintiff’s employment with Defendants. As a person who
                                            24
                                                 acted in the interest of Defendants in relation to the company’s employees, Defendant L
                                            25
                                                 & R Meats, Limited d/b/a Midwestern Meats is subject to liability under the FLSA.
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                                                        11.    Defendants Roger E. McConnell and Sally McConnell are, upon
                                             1
                                             2   information and belief, husband and wife. They have caused events to take place giving
                                             3   rise to the claims in this Complaint as to which their marital community is fully liable.
                                             4
                                                 Roger E. McConnell and Sally McConnell are owners of L & R Meats, Limited d/b/a
                                             5
                                                 Midwestern Meats and were at all relevant times Plaintiff’s employers as defined by the
                                             6
                                             7   FLSA, 29 U.S.C. § 203(d).
                                             8          12.    Under the FLSA, Defendants Roger E. McConnell and Sally McConnell
                                             9
                                                 are employers. The FLSA defines “employer” as any person who acts directly or
                                            10
                                                 indirectly in the interest of an employer in relation to an employee. At all relevant times,
                                            11
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                                            12   Defendants Roger E. McConnell and Sally McConnell had the authority to hire and fire
                        Phoenix, AZ 85060




                                            13   employees, supervised and controlled work schedules or the conditions of employment,
                         P.O. Box 97066




                                            14
                                                 determined the rate and method of payment, and maintained employment records in
                                            15
                                                 connection with Plaintiff’s employment with Defendants. As persons who acted in the
                                            16
                                            17   interest of Defendants in relation to the company’s employees, Defendants Roger E.

                                            18   McConnell and Sally McConnell are subject to individual liability under the FLSA.
                                            19
                                                        13.    Defendants Roger E. McConnell and Sally McConnell are, upon
                                            20
                                                 information and belief, husband and wife. They have caused events to take place giving
                                            21
                                            22   rise to the claims in this Complaint as to which their marital community is fully liable.

                                            23   Roger E. McConnell and Sally McConnell are owners of L & R Meats, Limited d/b/a
                                            24
                                                 Midwestern Meats and were at all relevant times Plaintiff’s employers as defined by the
                                            25
                                                 FLSA, 29 U.S.C. § 203(d).
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                                                        14.    Under the FLSA, Defendants Rodney McConnell and Erlinda McConnell
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                                             2   are employers. The FLSA defines “employer” as any person who acts directly or
                                             3   indirectly in the interest of an employer in relation to an employee. At all relevant times,
                                             4
                                                 Defendants Rodney McConnell and Erlinda McConnell had the authority to hire and fire
                                             5
                                                 employees, supervised and controlled work schedules or the conditions of employment,
                                             6
                                             7   determined the rate and method of payment, and maintained employment records in
                                             8   connection with Plaintiff’s employment with Defendants. As persons who acted in the
                                             9
                                                 interest of Defendants in relation to the company’s employees, Defendants Rodney
                                            10
                                                 McConnell and Erlinda McConnell are subject to individual liability under the FLSA.
                                            11
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                                            12          15.    Plaintiff is further informed, believes, and therefore alleges that each of the
                        Phoenix, AZ 85060




                                            13   Defendants herein gave consent to, ratified, and authorized the acts of all other
                         P.O. Box 97066




                                            14
                                                 Defendants, as alleged herein.
                                            15
                                                        16.    Defendants, and each of them, are sued in both their individual and
                                            16
                                            17   corporate capacities.

                                            18          17.    Defendants are jointly and severally liable for the injuries and damages
                                            19
                                                 sustained by Plaintiff.
                                            20
                                                        18.    At all relevant times, Plaintiff was an “employee” of Defendants L & R
                                            21
                                            22   Meats, Limited d/b/a Midwestern Meats; Roger E. McConnell and Sally McConnell; and

                                            23   Rodney McConnell and Erlinda McConnell as defined by the FLSA, 29 U.S.C. § 201, et
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                                                 seq.
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                                                        19.     The provisions set forth in the FLSA, 29 U.S.C. § 201, et seq., apply to
                                             1
                                             2   Defendants L & R Meats, Limited d/b/a Midwestern Meats; Roger E. McConnell and
                                             3   Sally McConnell; and Rodney McConnell and Erlinda McConnell.
                                             4
                                                        20.     At all relevant times, Defendants L & R Meats, Limited d/b/a Midwestern
                                             5
                                                 Meats; Roger E. McConnell and Sally McConnell; and Rodney McConnell and Erlinda
                                             6
                                             7   McConnell were and continue to be “employers” as defined by the FLSA, 29 U.S.C. §
                                             8   201, et seq.
                                             9
                                                        21.     Defendants individually and/or through an enterprise or agent, directed and
                                            10
                                                 exercised control over Plaintiff’s work and wages at all relevant times.
                                            11
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                                            12          22.     Plaintiff, in his work for Defendants, was employed by an enterprise
                        Phoenix, AZ 85060




                                            13   engaged in commerce that had annual gross sales of at least $500,000.
                         P.O. Box 97066




                                            14
                                                        23.     At all relevant times, Plaintiff, in his work for Defendants, was engaged in
                                            15
                                                 commerce or the production of goods for commerce.
                                            16
                                            17          24.     At all relevant times, Plaintiff, in his work for Defendants, was engaged in

                                            18   interstate commerce.
                                            19
                                                        25.     Plaintiff, in his work for Defendant, regularly handled goods produced or
                                            20
                                                 transported in interstate commerce.
                                            21
                                            22                                 FACTUAL ALLEGATIONS

                                            23          26.     Defendants own and/or operate as Midwestern Meats, an enterprise located
                                            24
                                                 in Maricopa County, Arizona.
                                            25
                                                        27.     Midwestern Meats is an enterprise that is a wholesale and retail butcher that
                                            26
                                            27   also operates a restaurant and baker in Arizona.

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                                                        28.    In 2014, Plaintiff began employment with Defendants as a custodian and
                                             1
                                             2   cleaner, performing various repetitive, non-exempt tasks such as cleaning meat shop
                                             3   machines, cleaning the meat case, scrubbing the walk-in cooler, cleaning and sanitizing
                                             4
                                                 tables and all equipment, hosing down and deep cleaning and sanitizing the floors, and
                                             5
                                                 disassembling, sanitizing, and reassembling machines.
                                             6
                                             7          29.    Plaintiff was not a manager in his work for Defendants.
                                             8          30.    Plaintiff did not have supervisory authority over any employees in his work
                                             9
                                                 for Defendants.
                                            10
                                                        31.    Plaintiff did not possess the authority to hire or fire employees in his work
                                            11
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                                            12   for Defendants.
                        Phoenix, AZ 85060




                                            13          32.    Plaintiff did not possess the authority to make critical job decisions with
                         P.O. Box 97066




                                            14
                                                 respect to any of Defendants’ employee in his work for Defendants.
                                            15
                                                        33.    Plaintiff did not direct the work of two or more employees in his work for
                                            16
                                            17   Defendants.

                                            18          34.    Plaintiff did not exercise discretion and independent judgment with respect
                                            19
                                                 to matters of significance in his work for Defendants.
                                            20
                                                        35.    Plaintiff did not perform office or non-manual work for Defendants in his
                                            21
                                            22   work for Defendants.

                                            23          36.    Plaintiff’s primary duty was not the management of the enterprise in which
                                            24
                                                 he was employed or any recognized department of the enterprise in his work for
                                            25
                                                 Defendants.
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                                                        37.    Defendants, in their sole discretion, agreed to pay Plaintiff $500 per week,
                                             1
                                             2   regardless of the number of hours he worked in a given workweek.
                                             3          38.    At all relevant times, Plaintiff was compensated at a rate of $500 per week,
                                             4
                                                 regardless of the number of hours he worked in a given workweek.
                                             5
                                                        39.    At all relevant times, in his work for Defendants Plaintiff was a non-exempt
                                             6
                                             7   employee.
                                             8          40.    Throughout the duration of Plaintiff’s employment, Defendants failed to
                                             9
                                                 properly compensate Plaintiff for his overtime hours.
                                            10
                                                        41.    Plaintiff routinely worked with knowledge of Defendants, and generally at
                                            11
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                                            12   Defendants’ request, in excess of 40 hours per week during his employment with
                        Phoenix, AZ 85060




                                            13   Defendants.
                         P.O. Box 97066




                                            14
                                                        42.    Specifically, during his employment, Plaintiff routinely worked in excess of
                                            15
                                                 60 hours per week and was not paid one-and-one-half times his regular rate of pay as
                                            16
                                            17   required under the FLSA for hours worked over 40 in a workweek.

                                            18          43.    In a given workweek, and during each and every workweek, of Plaintiff’s
                                            19
                                                 employment with Defendants, Plaintiff worked between approximately ten (10) and thirty
                                            20
                                                 (30) hours of overtime, and sometimes more, without being compensated at one-and-one-
                                            21
                                            22   half times his regular rate of pay for such time worked.

                                            23          44.    Defendants’ failure to pay Plaintiff one and one-half times the applicable
                                            24
                                                 hourly rate of pay for all hours worked in excess of 40 per week violated 29 U.S.C. §
                                            25
                                                 207.
                                            26
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                                                        45.    Defendants knew that – or acted with reckless disregard as to whether –
                                             1
                                             2   their failure to pay Plaintiff the proper overtime rate would violate federal and state law,
                                             3   and Defendants were aware of the FLSA overtime requirements during Plaintiff’s
                                             4
                                                 employment. As such, Defendants’ conduct constitutes a willful violation of the FLSA.
                                             5
                                                        46.    Plaintiff is a covered employee within the meaning of the Fair Labor
                                             6
                                             7   Standards Act (“FLSA”).
                                             8          47.    At all relevant times, Plaintiff was a non-exempt employee.
                                             9
                                                        48.    Defendants refused and/or failed to properly disclose to or apprise Plaintiff
                                            10
                                                 of his rights under the FLSA.
                                            11
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                                            12          49.    Defendants wrongfully withheld wages from Plaintiff by failing to pay all
                        Phoenix, AZ 85060




                                            13   wages due for hours Plaintiff worked.
                         P.O. Box 97066




                                            14
                                                        50.    Defendants individually and/or through an enterprise or agent, directed and
                                            15
                                                 exercised control over Plaintiff’s work and wages at all relevant times.
                                            16
                                            17          51.    Due to Defendants’ illegal wage practices, Plaintiff is entitled to recover

                                            18   from Defendants compensation for unpaid wages, an additional amount equal amount as
                                            19
                                                 liquidated damages, interest, and reasonable attorney’s fees and costs of this action under
                                            20
                                                 29 U.S.C. § 216(b).
                                            21
                                            22                     COUNT ONE: FAIR LABOR STANDARDS ACT
                                                                   FAILURE TO PAY PROPER OVERTIME RATE
                                            23
                                            24          52.    Plaintiff realleges and incorporates by reference all allegations in all

                                            25   preceding paragraphs.
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                                                        53.    Plaintiff was a non-exempt employee entitled to statutorily mandated
                                             1
                                             2   overtime wages.
                                             3          54.    In a given workweek, Defendants failed to pay one and one-half times the
                                             4
                                                 applicable regular rate of pay for all hours worked in excess of 40 hours.
                                             5
                                                        55.    As a result of Defendants’ failure to pay Plaintiff one and one-half times his
                                             6
                                             7   regular rate for all hours worked in excess of 40 per week in a given workweek,
                                             8   Defendants failed and/or refused to pay Plaintiff the applicable overtime rate for all hours
                                             9
                                                 worked for the duration of his employment, in violation of 29 U.S.C. § 207.
                                            10
                                                        56.    As a result of Defendants’ willful failure to compensate Plaintiff the
                                            11
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                                            12   applicable overtime rate for all hours worked, Defendants violated the FLSA.
                        Phoenix, AZ 85060




                                            13          57.    As such, the full applicable overtime rate is owed for all hours that Plaintiff
                         P.O. Box 97066




                                            14
                                                 worked in excess of 40 hours per week.
                                            15
                                                        58.    Defendants knew that – or acted with reckless disregard as to whether –
                                            16
                                            17   their failure to pay Plaintiff the proper overtime rate would violate federal and state law,

                                            18   and Defendants were aware of the FLSA minimum wage requirements during Plaintiff’s
                                            19
                                                 employment. As such, Defendants’ conduct constitutes a willful violation of the FLSA.
                                            20
                                                        59.    Defendants have and continue to willfully violate the FLSA by not paying
                                            21
                                            22   Plaintiff a wage equal to one- and one-half times the applicable regular rate of pay for all

                                            23   time Plaintiff spent working for Defendants.
                                            24
                                                        60.    Plaintiff is therefore entitled to compensation one and one-half times his
                                            25
                                                 regular rate of pay for all hours worked in excess of 40 per week at an hourly rate, to be
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                                                 proven at trial, plus an additional equal amount as liquidated damages, together with
                                             1
                                             2   interest, costs, and reasonable attorney fees.
                                             3          WHEREFORE, Plaintiff, Jerry Clemons, respectfully requests that this Court
                                             4
                                                 grant the following relief in Plaintiff’s favor, and against Defendants:
                                             5
                                                        A.         For the Court to declare and find that the Defendants committed one of
                                             6
                                             7                     more of the following acts:
                                             8                i.          Violated overtime wage provisions of the FLSA, 29 U.S.C. § 207(a),
                                             9
                                                                          by failing to pay proper minimum wages;
                                            10
                                                             ii.          Willfully violated overtime wage provisions of the FLSA, 29 U.S.C.
                                            11
 BENDAU & BENDAU PLLC




                                            12                            § 207(a) by willfully failing to pay proper overtime wages;
                        Phoenix, AZ 85060




                                            13          B.         For the Court to award Plaintiff’s unpaid overtime wage damages, to be
                         P.O. Box 97066




                                            14
                                                                   determined at trial;
                                            15
                                                        C.         For the Court to award compensatory damages, including liquidated
                                            16
                                            17                     damages pursuant to 29 U.S.C. § 216(b), to be determined at trial;

                                            18          D.         For the Court to award prejudgment and post-judgment interest;
                                            19
                                                        E.         For the Court to award Plaintiff reasonable attorneys’ fees and costs of the
                                            20
                                                                   action pursuant to 29 U.S.C. § 216(b) and all other causes of action set
                                            21
                                            22                     forth herein;

                                            23          F.         Such other relief as this Court shall deem just and proper.
                                            24
                                                                                     JURY TRIAL DEMAND
                                            25
                                                        Plaintiff hereby demands a trial by jury on all issues so triable.
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                                             1          RESPECTFULLY SUBMITTED this 3rd day of March 2021.
                                             2
                                                                                                        BENDAU & BENDAU PLLC
                                             3
                                             4                                                          By: /s/ Clifford P. Bendau, II
                                                                                                        Christopher J. Bendau
                                             5                                                          Clifford P. Bendau, II
                                                                                                        Attorney for Plaintiff
                                             6
                                             7
                                             8
                                             9
                                            10
                                            11                                           VERIFICATION
 BENDAU & BENDAU PLLC




                                            12          Plaintiff, Jerry Clemons, declares under penalty of perjury that he has read the foregoing
                        Phoenix, AZ 85060




                                            13
                         P.O. Box 97066




                                                 Verified Complaint and is familiar with the contents thereof. The matters asserted therein are
                                            14
                                                 true and based on his personal knowledge, except as to those matters stated upon information and
                                            15
                                                 believe, and, as to those matters, he believes them to be true.
                                            16
                                            17
                                            18
                                            19                                                          Jerry Clemons

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